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                      IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF WYOMING

BCB CHEYENNE LLC d/b/a BISON                     )
BLOCKCHAIN, a Wyoming limited liability          )
Company,                                         )
                                                 )
        Plaintiff,                               )
                                                 )
v.                                               )      Civil No. 23-CV-79-ABJ
                                                 )
MINEONE WYOMING DATA CENTER,                     )
LLC, a Delaware limited liability company;       )
MINEONE PARTNERS LLC, a Delaware                 )
limited liability company; TERRA CRYPTO          )
INC., a Delaware corporation; BIT ORIGIN,        )
LTD, a Cayman Island Company;                    )
SONICHASH LLC, a Delaware limited                )
liability company; BITMAIN                       )
TECHNOLOGIES HOLDING COMPANY,                    )
A Cayman Island Company; BITMAIN                 )
TECHNOLOGIES GEORGIA LIMITED,                    )
a Georgia corporation; and JOHN DOES 1-18,       )
related persons and companies who control        )
or direct some or all of the named Defendants,   )
                                                 )
        Defendants.                              )


        SECOND AMENDMENT TO PREJUDGMENT WRIT OF ATTACHMENT


        The First Amendment to Prejudgment Writ of Attachment, issued and filed on July 15,

2024, is hereby amended as follows:

     1. The sum amount ordered attached is updated and revised from FIFTEEN MILLION

        THREE HUNDRED SEVEN THOUSAND FIVE HUNDRED THIRTY ONE DOLLARS

        AND SEVENTY TWO CENTS ($15,307,531.72) to FIFTEEN MILLION TWO

        HUNDRED FIFTY THOUSAND SEVEN HUNDRED FIFTEEN DOLLARS AND

        SIXTY SEVEN CENTS ($15,250,715.67).
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   2. The Attached Campstool Proceeds is updated and revised from FOUR MILLION NINETY

       ONE THOUSAND NINETY FIVE DOLLARS AND SEVENTY TWO CENTS

       ($4,091,095.72) to FOUR MILLION THIRTY FOUR THOUSAND TWO

       HUNDRED SEVENTY NINE                  DOLLARS        AND SIXTY SEVEN CENTS

       ($4,034,279.67).

   3. In addition to the (a) SEVEN MILLION ONE HUNDRED THIRTY TWO THOUSAND

       EIGHT HUNDRED SIXTY NINE DOLLARS AND FORTY TWO CENTS

       ($7,132,869.42 USD) that MineOne owes to its secured creditor AntAlpha Technologies

       Limited ("AntAlpha"), and the (b) TWENTY SIX THOUSAND THIRTY FOUR

       DOLLARS AND EIGHTY SIX CENTS ($26,034.86) that MineOne owes for taxes,

       association dues, recording, escrow/closing, and/or title insurance, all of which is not

       included in the Attached Campstool Proceeds per the July 15, 2024 First Amendment to

       Prejudgment Writ of Attachment, the following amounts are now also not included in the

       Attached Campstool Proceeds:

          a. FIFTY SIX THOUSAND SEVEN HUNDRED TWENTY SEVEN DOLLARS

              ($56,727.00) – additional interest owing to AntAlpha required to pay off and satisfy

              any and all amounts owing to AntAlpha as of the July 26, 2024 closing date; and

          b. EIGHTY NINE DOLLARS AND FIVE CENTS ($89.05) – the additional balance

              owing from MineOne on the Seller's Final Settlement Statement related to taxes as

              of the July 26, 2024 closing date and recording fees.

       HEREBY ISSUED on this 26th day of July, 2024, at Cheyenne, Wyoming, on the order of

the Honorable Alan B. Johnson, United States District Court Judge for the District of Wyoming.
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                                        BY THE COURT:



                                        ______________________

                                        Alan B. Johnson
                                        United States District Judge
